Case 2:04-cr-20003-.]PI\/| Document 92 Filed 04/27/05 Page 1 of 2 Page|D 153

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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UNITED S'I`ATES OF AMERICA
Plaintiff,
VS. CR. NO. 04-20003-Ml

LAKEESHALA BLAND
Defendant.

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ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on April 25, 2005, the United.States
Attorney for this district, Lorraine Craig, appearing for the Government
and the defendant, Lakeeshala Bland, appearing in person and with
counsel, Eugene Laurenzi, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Counts l, 2 and 3 Of
the Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this CaSe is SET for FRIDAY, JI.`FLYl 15, 2005, at 9:00
a.m., before Judge Jon Phipps McCalla.

Defendant is remanded to the custody of the U. S. Marshal.

ENTERED this the ig§%day of April, 2005.

U?MC

J N PH/IPPS MCCALLA
ITED STATES DISTRICT COURT

 
 

 

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NNESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

